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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: GENERIC PHARMACEUTICALS
 PRICING ANTITRUST LITIGATION                       MDL NO. 2724

                                                    16-MD-2724
 THIS DOCUMENT RELATES TO:
 ALL ACTIONS
                                                    HON. CYNTHIA M. RUFE


                            JOINT PROPOSED AGENDA FOR
                      JULY 9, 2020 GENERAL STATUS CONFERENCE

        Pursuant to Pretrial Order No. 127 (MDL Doc. No. 1410), Liaison Counsel hereby submit

this proposed agenda of items to be brought before the Court via videoconference at the General

Status Conference scheduled for Thursday, July 9, 2020, at 1:30 pm:

   1.       Status of Revised Case Management Order Negotiations

   2.       Schedule for Future Conferences

   3.       Argument with regard to the effect of Lexecon issues on R&R 3

The State of New York has provided the following conference information for counsel wishing

to participate by telephone:

        866 394-2346
        Code: 659 182 3682#

Dated: July 1, 2020                              Respectfully submitted:

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